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                             IN THE UNITED STATES DISTRICT COURT
                              FOR THE WESTERN DISTRICT OF TEXAS
                                       AUSTIN DIVISION

SPEECH FIRST, INC.,                                       §
                                                          §
             Plaintiff,                                   §
                                                          §
v.                                                        §    CIVIL ACTION NO. 1:18-cv-1078-LY
                                                          §
GREGORY L. FENVES,                                        §
                                                          §
             Defendant.                                   §

          DEFENDANT GREGORY L. FENVES’ RESPONSE TO PLAINTIFF’S
          ALTERNATIVE MOTION TO STRIKE DEFENDANT’S OBJECTIONS
                  TO THE DECLARATION OF NICOLE NEILY

         Defendant Gregory L. Fenves files this response in opposition to the Alternative Motion to Strike

(“Motion to Strike”) contained within Plaintiff’s Response to, or in the Alternative Motion to Strike,

Defendant’s Objections to the Declaration of Nicole Neily (“Response”) (Doc. 26). The Response

warrants no reply because Plaintiff’s inability to refute Defendant’s well-founded Objections to the

Declaration of Nicole Neily (Doc. 22) is self-evident. But the Motion to Strike calls for this brief response

so that Defendant’s opposition is clear. See L.R. 7.e.1.–2. (“Any party opposing a motion shall file a

response . . . . If there is no response . . . the court may grant the motion as unopposed.”).

         The Motion to Strike fails for three reasons. First, this is not a proper motion to strike, which Rule

12(f) controls. “That Rule makes clear that motions to strike must be directed to a party’s pleadings . . .

[which] consist of only: a complaint, an answer to a complaint, and a reply to an answer . . . . Accordingly,

numerous courts . . . have held that a motion to strike filings (in whole or in part) that are not pleadings

. . . is improper.” Santana v. RCSH Operations, LLC, No. 10-61376-CIV, 2011 U.S. Dist. LEXIS 21814, at

**2–3 (S.D. Fla. Feb. 18, 2011) (internal citations omitted). “Consequently, ‘[m]otions, briefs or

memoranda, objections, or affidavits may not be attacked by the motion to strike.’” Superior Prod. P’ship v.

Gordon Auto Body Parts Co., Case No. 2:06-cv-0916, 2008 U.S. Dist. LEXIS 42521, at *3 (S.D. Ohio, May


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28, 2008) (emphasis added) (citations omitted). Plaintiff cites no rule or authority supporting its request,

(Doc. 26 at 2–3), instead citing case law where the court, like the Court here, has been asked to rule on

objections to evidence filed in support of a preliminary injunction and does so. See, e.g., Stemtech Int’l Inc. v.

Drapeau, 2016 WL 7443181, at *15 (W.D. Tex. 2016) (ruling on objections to evidence at the preliminary

injunction stage); June Med. Servs. LLC v. Kliebert, 158 F. Supp. 3d 473, 494 n.30 (M.D. La. 2016) (same).

The only other cases Plaintiff cites in support of this relief are inapposite. Those cases denied motions to

strike evidence filed in support of a motion for preliminary injunction, not motions to strike objections to

evidence as Plaintiff attempts to do here. Tex. Med. Providers Performing Abortion Servs. v. Lakey, 806 F. Supp.

2d 942, 956 (W.D. Tex. 2011) (denying a motion to strike evidence—not a motion to strike objections to

evidence—at the preliminary injunction stage); AMID, Inc. v. Medic Alert Found. U.S., Inc., 241 F. Supp. 3d

788, 797 n.1 (S.D. Tex. 2017) (same). And Plaintiff’s analysis of Jones, cited in Defendant’s Objections,

concedes that Plaintiff has no authority for its request: “True, the Jones court ruled on the objections, rather

than rejecting them outright (as Speech First asks the Court to do here). But that is because no party asked

the Jones court to reject the objections as procedurally improper.” (Doc. 26 at 3 (emphasis in original) (citing

Jones v. Am. Council on Exercise, Civil Action No. H-15-3270, 2017 U.S. Dist. LEXIS 36632, at *4 (S.D. Tex.

Mar. 15, 2017) (sustaining objections to evidence offered in support of application for preliminary

injunction))).

         Second, Plaintiff failed to confer with Defendant on the Motion to Strike as expressly required by

Local Rule 7.i., and the Motion to Strike does not contain a Certificate of Conference—a fatal defect. See

L.R. 7.i. (“The court may refuse to hear or may deny a nondispositive motion unless the movant advises

the court within the body of the motion that counsel for the parties have first conferred . . . and, further,

certifies the specific reason that no agreement could be made.”). Third, Plaintiff docketed the Motion to

Strike as a response to Defendant’s Objections, and the appropriate (and more efficient) action is for the

Court to rule on the objections instead of participating in Plaintiff’s groundless procedural distraction.


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         Accordingly, Defendant requests that the Court deny the Motion to Strike (Doc. 26) and sustain

the Objections to the Declaration of Nicole Neily Submitted by Plaintiff in Support of Its Motion for

Preliminary Injunction (Doc. 22).


Dated: February 11, 2019                                         Respectfully submitted,


                                                          By: /s/ Charles L. Babcock
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                                      CERTIFICATE OF SERVICE

         This is to certify that on February 11, 2019, a copy of the foregoing was electronically filed with

the Clerk of the Court using the ECF system which will send notification of such filing to the following:

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                                                          /s/ Charles L. Babcock
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